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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

IN RE:                                        )
                                              )
AUBURN FOUNDRY, INC.,                         )               Case No. 04-10427
                                              )                  Chapter 11
                        Debtor.               )

                   REQUEST FOR HEARING ON BANK OF AMERICA’S
                       MOTION FOR ADEQUATE PROTECTION


         Comes now Bank of America, National Association (ABofA@), as agent for the pre-petition

secured lenders and respectfully request that the hearing on the Motion of Bank of America, N.A., to

Require Debtor to Provide Adequate Protection Pursuant to 11 U.S.C. ''361 and 363(e) be reset at

the convenience of the court.

         In support of this Request, BofA would respectfully show that on March 5, 2004 it filed the

Motion of Bank of America, N.A., to Require Debtor to Provide Adequate Protection Pursuant to 11

U.S.C. ''361 and 363(e), and that the Court held a status conference with respect to said motion on

May 12, 2004. At that time, it was understood that the debtor-in-possession=s Chapter 11 plan would

be forthcoming, which might moot the request for adequate protection.

         The Court therefore made a Docket Entry indicating that the hearing on the motion for

adequate protection would be reset at the movant=s request, but if there were no such request within

60 days, then the motion would be deemed moot.

         Because BofA and the debtor-in-possession are continuing to negotiate a consensual plan of

reorganization and expect such plan of reorganization to be filed shortly, BofA requests that its

motion be set down for a further hearing or status conference, at the convenience of the court.

                                              Respectfully submitted,
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                                                    /s/ Grant F. Shipley______
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                                                 Attorney for Bank of America, National Association
                                                         as agent for the pre-petition secured lenders

                                  CERTIFICATE OF SERVICE

        I certify that on the 12th day of July, 2004, service of a true and exact copy of the above and

foregoing pleading was served electronically through the Court=s ECF system to:

        John R. Burns                                           Henry A. Efroymson
        Mark Werling                                            Stephen L. Fink
        Ellen Triebold                                          Marlene Reich
        Becket & Lee, LLP                                       Gary D. Boyn
        Brian J. Lange                                          Stephen E. Lewis
        W. Erik Weber


        And by depositing same in the United States Mail in envelopes properly addressed and with

sufficient first class postage affixed to:

Auburn Foundry, Inc.                                    Honigman Miller Schwartz & Cohn, LLP
635 W. Eleventh St.                                     2290 First National Building
Auburn, IN 46706                                        660 Woodward Ave.
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Michael McGauhey, Chairman
Citizens Gas & Coke Utility                             Richard J. Swanson
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                                                  /s/ Grant F. Shipley
                                                 Grant F. Shipley
